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                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF NEBRASKA

BORDER STATES INDUSTRIES, INC.,

                     Plaintiff,                     Case No.

       v.

UNITED STATES CITIZENSHIP AND                       COMPLAINT
IMMIGRATION SERVICES and UR M.
JADDOU, Director, United States
Citizenship and Immigration Services,

                     Defendant.


                                    INTRODUCTION

       1.     Plaintiff Border States Industries, Inc. (“Border States”) brings this action to

challenge the unlawful decision of Defendant United States Citizenship and Immigration

Services (“USCIS”) to deny an I-140 immigrant visa petition for an Analytics Developer

position, a crucial role in Border States’ expanding business operations.

       2.     USCIS denied the petition for only one reason—its erroneous conclusion that

the beneficiary, Mr. You Wang, did not have the requisite number of years of work

experience for the position. USCIS’s denial decision is obviously incorrect—the Analytics

Developer position requires three years of work experience; Mr. Wang has more than six

years of qualifying experience.

       3.     To reach this unreasonable outcome, USCIS simply ignored all of Mr.

Wang’s work at Border States. USCIS offered no rationale for this decision to ignore the

relevant evidence of his experience. This itself is an abuse of discretion. See Ved v. United
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States Citizenship and Immigration Services, 2023 WL 2372360, at **7-8 (D. Alaksa Mar.

6, 2023) (holding that USCIS abused its discretion by denying an I-140 without sufficient

support or explanation for disregarding foreign worker’s past experience).

         4.    Moreover, to reach its denial decision, USCIS ignored the Department of

Labor’s conclusion that Border States could require experience Mr. Wang gained at Border

States to qualify for the position. The DOL’s position is established under federal

regulation at 20 C.F.R. § 656.17(i). In denying the petition, USCIS never even addressed

the regulation.

         5.    For these reasons, and others described below, USCIS’s denial decision is

contrary to law and an abuse of discretion. Border States therefore seeks an order vacating

the denial and requiring USCIS to approve the I-140 or, in the alternative, remanding the

denial decision to USCIS for further proceedings consistent with the agency’s obligations

under the law.

                             JURISDICTION AND VENUE

         6.    This case arises under the Immigration and Nationality Act (INA), 8 U.S.C.

§ 1101 et seq. and the Administrative Procedure Act (APA), 5 U.S.C. § 701 et seq. This

Court has jurisdiction pursuant to 28 U.S.C. § 1331, as a civil action arising under the laws

of the United States, and 28 U.S.C. § 1361. This Court also has authority to grant

declaratory relief under 28 U.S.C. §§ 2201-02, and injunctive relief under 5 U.S.C. § 702,

and 28 U.S.C. § 1361. The United States has waived sovereign immunity under 5 U.S.C.

§ 702.




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       7.     Venue is proper in this judicial district under 28 U.S.C. § 1391(e)(1)(A)

because this is a civil action in which the Defendants are an agency of the United States

and a substantial part of the events or omissions giving rise to the claim occurred at

USCIS’s Nebraska Service Center.

                                         PARTIES

       8.     Plaintiff Border States is a company headquartered in Fargo, North Dakota.

       9.     Defendant U.S. Citizenship and Immigration Services (“USCIS”) is a

component of the U.S. Department of Homeland Security (“DHS”), 6 U.S.C. § 271, and

an “agency” within the meaning of the APA, 5 U.S.C. § 551(1). USCIS is responsible for

the adjudication of immigration benefits applications, including immigrant visa petitions.

The USCIS Nebraska Service Center denied Border States’ Immigrant Visa Petition to

employ You Wang in the position of Analytics Developer. The Nebraska Service Center

is a USCIS office that adjudicates petitions and applications for immigration benefits.

       10.    Defendant Ur M. Jaddou is the Acting Director of USCIS. In this role, she

oversees the adjudication of immigration benefits and establishes and implements

governing policies. She has ultimate responsibility for the adjudication of Border State’s I-

140 petition and is sued in her official capacity.

                                 LEGAL FRAMEWORK

       11.    Congress established two primary bases for immigration under the current

system: promoting family unity and attracting workers with various skill sets to bolster the

economy.




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       12.     The Immigration and Nationality Act (“INA”) accordingly provides a

process for noncitizens to obtain permanent employment in the United States in certain

occupations.

       13.     The employer first must submit a Form 9089 to apply for a labor certification

from the United States Department of Labor (“DOL”) confirming that there are not

sufficient workers who are able, willing, qualified and available at the time of application

for a visa and admission to the United States and at the place where the alien is to perform

such skilled or unskilled labor, and the employment of such alien will not adversely affect

the wages and working conditions of workers in the United States similarly employed. 8

U.S.C. § 1182(a)(5)(A)(i)(I)-(II).

       14.     As part of its review, DOL looks at the actual minimal job requirements for

the position, confirms there are not qualified U.S. workers available for the position, and

also reviews the training and experience possessed by the foreign worker, the “beneficiary”

of the petition. 20 C.F.R. § 656.17. Generally speaking, DOL evaluates conditions of the

domestic labor market—i.e., whether there are able, willing, qualified, and available United

States workers for the job offered to the alien and whether the alien’s employment would

have a negative effect on the wages and working conditions of similarly situated United

States workers.

       15.     Where a foreign worker is already employed with a petitioner company,

regulations generally prohibit an employer from requiring domestic applicants to possess

training and/or experience beyond what the foreign worker possessed at the time of hire.

20 C.F.R. § 656.17. There are two exceptions: (1) where the beneficiary gained the


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experience in a position not substantially comparable to the position for which certification

is sought; or (2) where the employer can demonstrate that it is no longer feasible to train

an employee into the position.

       16.    Thus, as part of the labor certification process, DOL considers the

beneficiaries’ experience before and after the time of hire, and considers whether the

qualifications for a position create a barrier to United States worker applicants.

       17.    DOL’s Board of Labor Certification Appeals (“BALCA”) has developed a

body of opinions explaining circumstances where a petitioner may consider an employee’s

time working for the petitioner as necessary experience for a position. These opinions

establish that a petitioner may require work experience the beneficiary did not have at the

time of hire by demonstrating that it is not feasible to train an employee lacking this

experience where the business environment required the position to change so that experience

with the employer’s business is required, where time pressures involved in the business made

it not feasible for an employer to train an inexperienced employee, or where the beneficiary

was the only person available to train a new employee so loss of the beneficiary left no one to

train someone without experience. See In Matter of Telapprise, LLC, 2012-PER-03255 (Bd.

Alien Lab. Cert. App. June 28, 2017) (concluding that employer established it was no longer

feasible to train an employee based on employer letter describing how change in business

justified change in position—from auditor to consultant—requiring at least two years of

experience); Matter of Kentrox, Inc., 2012-PER-00038 (Bd. Alien Lab. Cert. App. May 22,

2014) (holding the employer could not train a U.S. worker because it would take two years to

train someone to achieve the “alien's level of competency and specific product knowledge,”



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and the employer's fast-paced release cycle did not “permit training or allow an experienced

Software Engineer to attain the necessary specific product structure knowledge”).

       18.    Despite the existence of this authority, DOL frequently refused to certify

labor certification applications where the beneficiary gained work experience with the

employer. Confusion surrounding the DOL’s position reached the point where, in 2022,

DOL reportedly advised employers to seek reconsideration for denials based on the

beneficiary’s work experience with the employer. See, e.g., Anderson, Stuart, Labor

Department     Creates    Permanent      Immigration     Crisis,   Forbes,    available   at

https://www.forbes.com/sites/stuartanderson/2023/03/15/labor-department-creates-

permanent-immigration-chaos/?sh=11ed40ea7d5f, (Mar. 15, 2023) (reporting on increase

of DOL denials leading up to amended Form 9089).

       19.    In 2023, DOL amended Form 9089 to more clearly request information as to

how past experience with the employer, as well as experience in the position itself, could

be used to qualify for the position. This approach is consistent with the regulations,

which—as noted above—clearly permit an employer to consider work experience gained

in the position based in certain circumstances.

       20.    DOL approval is not the final step, however. Once the certification is

obtained from DOL, the employer must submit the certification along with an I–140 visa

petition to the USCIS on behalf of the “beneficiary” to the petition. 8 C.F.R. §

204.5(l )(1); see 8 U.S.C. § 1153(b)(3)(C).

       21.    USCIS’s analysis is related, but focused on whether the beneficiary is

qualified for the position. So where DOL determines whether the experience requirements


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are appropriate—i.e., whether the level of experience deters domestic workers—USCIS

should look to whether the beneficiary meets those qualifications. 8 C.F.R. § 204.5(l)(3)(ii)

(explaining the employer must submit documentation to show that the non-citizen worker

meets any educational, training and experience, or other requirements identified by the

labor certification).

       22.     In making its determination, USCIS must consider information submitted by

the petitioner demonstrating how the beneficiary’s work experience meets the requirements

of the position. Unlike the DOL, USCIS should not review whether the job requirements

are the actual minimum needed by the employer or, stated differently, whether the

employer is using requirements that create a barrier for domestic workers.

       23.     As recent cases demonstrate, USCIS has unreasonably denied petitions on

the erroneous basis that past work experience with the employer cannot qualify a foreign

worker for a position with that employer. See Ved v. United States Citizenship and

Immigration Services, 2023 WL 2372360, at **7-8 (D. Alaksa Mar. 6, 2023) (holding that

USCIS abused its discretion by denying I-140 on the basis that foreign worker’s past

experience with the employer could not qualify employee for position). In Ved, USCIS

seized on ambiguities in the Form 9089—ambiguities DOL has since revised—to

categorically refuse to consider a beneficiary’s work experience with the employer. This

position was not only inconsistent with USICS’s role, but it also ignores the work

experience that, at least arguably, is most relevant to the position.

       24.     If USCIS had the legal authority to categorically refuse to consider certain

types of work experience, USCIS still is required to explain the basis for that decision


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and—because it is inconsistent with the DOL—to explain why it is reaching a different

result under the regulations applicable to DOL’s findings. As courts in this district have

explained, USCIS is responsible for articulating “a satisfactory explanation for its action

including a rational connection between the facts found and the choice made.” Scripps

Coll. v. Jaddou, No. 4:23CV3075, 2023 WL 8601208, at *6 (D. Neb. Dec. 12, 2023)

(internal quotations and citations omitted)

       25.    Here, as described below, USCIS abused its discretion by failing to offer any

explanation for the denial decision. USCIS simply chose to ignore Mr. Wang’s work

experience at Border States—including more than three years in the position itself—despite

the detailed explanations and volume of evidence presented with the petition and in

response to a Request for Evidence.

                              FACTUAL ALLEGATIONS

   A. Background on Border States Industries

       26.    Border States was founded in 1952 as a wholesale electrical distributor. It

provides products, material management solutions, and delivery and logistics expertise to

tens of thousands of customers across diverse industries, including electrical construction,

utility, renewable energy, datacomm, and education. Headquartered in Fargo, North

Dakota, Border States employs approximately 3,125 employees throughout its branch

network in 29 states. Border States has delivered innovative products and supply chain

solutions for over 70 years, and that work increasingly involves assisting customers seeking

to streamline their supply chains, reduce expenses, increase efficiency, and deliver

measurable bottom-line results.


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       27.    Because of its expansive footprint and business emphasis on supply chain

efficiency, Border States’ Data and Analytics Team is critical to its business operations.

       28.    This has been particularly true in recent years, as Border States has rapidly

expanded its business. Indeed, during the last eight years Border States has experienced

tremendous revenue growth, increasing sales revenue from approximately $1.5 billion in

2016 to approximately $3.6 billion in 2023.

       29.    Border States now has a strategic plan to triple or even quadruple revenue

from current levels to as much as $12 billion by 2030. To succeed in this growth strategy,

Border States’ strategic plan requires tools and analysis provided by Border States’ Data

and Analytics team. More specifically, Border States’ strategic plan is titled the “Connect

25” plan and reflects a business strategy that incorporates new technological developments

and resources to identify market trends, vendor data, and client-data analysis.

   B. You Wang’s employment with Border States since 2016

       30.    Mr. Wang began work at Border States more than seven years ago—in

November 2016. From November 2016 to April 2019, Mr. Wang worked as a Sales

Operations Data & Segment Analyst. This was an entry-level position with job duties

focused on sales data analysis and reporting. This position was part of the Sales Enablement

Operations team, and Mr. Wang spent 75% of his time working on ad hoc or one-time data

extraction and transformation projects to respond to questions from area sales leaders

provided to him through his supervisor.

       31.    In April 2019, Mr. Wang began work in a new position as Analytics

Developer. This position is in a different department at Border States—the Data and


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Analytics team—which focuses on larger scale data analytics projects encompassing

various departments such as finance, pricing, and operations. The Analytics Developer

position is important to that team’s success—it creates a suite of data warehouses,

visualization dashboards, and reporting architectures. The job duties are not substantially

comparable to Mr. Wang’s prior role on the Sales Enablement Operations team—as an

Analytics Developer, Mr. Wang’s work designing data visualization tools and dashboards

comprises 40% of the job duties for the position while 60% of the job duties entail

modeling, coding, and statistical analysis of big data.

       32.    During the nearly five years he has worked in this position, Border States’

business has changed. As noted, Border States has experienced significant revenue growth

and expects larger revenue growth in the future based on its “Connect 25” strategy. Because

of the change in Border States’ business strategy, Mr. Wang’s Analytics Developer

position is now more focused on providing advanced analytics across the company. As a

data scientist, Mr. Wang focuses on providing advanced analytics, machine learning, and

predictive modeling.

       33.    Based on the restructuring and focus of his position, Mr. Wang is now the

only Analytics Developer at the company. If he were no longer working at Border States,

the company would have no one to perform his job functions and—because of the

experience he has gained—it would not be possible to train an employee to take on those

functions.




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   C. The Department of Labor Certified the Analytics Developer Position

       34.    Seeking to hire a foreign worker for the Analytics Developer position, Border

States submitted a Form 9089 Application for Permanent Labor Certification to the United

States Department of Labor requesting certification for the position.          Border States

completed and submitted the older version of the Form 9089, which—as noted above—

changed in the middle of 2023 to better reflect the beneficiary’s work experience for the

employer.

       35.    Border States indicated that the position required 36 months of experience as

an Analytics Developer or in a position that had similar job duties and experience.

       36.    Border States also explained how it had conducted detailed recruitment of

US workers for the position, including by posting advertisements online, through the state

workforce agency, and in the Fargo Forum newspaper. Border States did not receive any

qualified applicants for the position.

       37.    On March 23, 2023, the Secretary of Labor certified the Form 9089, thus

certifying that there are insufficient workers who are able, willing, qualified, and available

at the time of application for a visa and admission to the United States, and that the

employment of beneficiaries will not adversely affect the wages and working conditions of

workers in the United States similarly employed.

       38.    DOL did not raise any concern relating to the type of experience required for

the Analytics Developer position. In other words, DOL did not object to requiring work

experience in the position itself.




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   D. Border States Submits an I-140 and USCIS Issues a Request for Evidence

      39.    On September 20, 2023, Border States submitted an I-140 to the Department

of Homeland Security. Border States provided USCIS with the approved labor

certification, as well as significant evidence demonstrating Mr. Wang’s qualifications for

the Analytics Developer position.

      40.    Specifically, Border States provided employer letters showing that Mr. Wang

had 42.5 months of qualifying experience at the University of Cincinnati, Berkely Net

Underwriters, Blue Cross Blue Shield of North Dakota, and Border States Electric. This

was far more than the 36 months of experience required.

      41.    Border States also explained that Mr. Wang had 38 months of additional

experience in the Analytics Developer position itself. Mr. Wang’s experience as Analytics

Developer between April 2019 and June 2022 qualified him for that very same Analytics

Developer position at Border States.

      42.    On September 27, 2023, less than one week after receiving the I-140, USCIS

issued a Request for Evidence that ignored the evidence submitted by Border States and

did not even acknowledge Mr. Wang’s qualifying experience or changes to Border States’

business.

      43.    The RFE first erred by misstating Mr. Wang’s qualifying experience. The

RFE claimed incorrectly that the only evidence submitted by Border States to demonstrate

Mr. Wang’s experience was (a) “an experience letter from Blue Cross Blue Shield of North

Dakota” and (b) “an experience letter from Berkely Net Underwriters LLC.” The RFE did




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not acknowledge, much less actually consider, Mr. Wang’s qualifying experience at the

University of Cincinnati or at Border States.

        44.   The RFE also failed to even address how Mr. Wang’s 38 months of

experience in the Analytics Developer position itself qualified him for the position, a key

point emphasized by Border States’ petition. USCIS simply ignored Border States’

explanation that significant changes to its business over several years meant that Mr.

Wang’s qualifying experience as an Analytics Developer counted toward the requirements

for the position.

        45.   USCIS never even acknowledged the evidence and explanation on the

question of whether it was feasible for Border States to train a worker for the position in

light of the significant changes to its business. As a result of its failure to even consider

Border States’ explanation of this issue, USCIS also failed to address DOL’s decision to

certify the labor certificate based, in part, on this evidence and explanation.

   E. Border States’ Response to the RFE

        46.   On December 20, 2023, Border States provided a timely and thorough

response to USCIS’ Requests for Evidence. Border States provided new employer letters

from Mr. Wang’s supervisor at the University of Cincinnati, a letter from Shari Else, his

supervisor in this previous position at Border States, and a letter from Andrew Block, his

current supervisor, explaining how Border States’ business had changed between 2019 and

2022.




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       47.      Border States also submitted a chart explaining how Mr. Wang possessed

42.5 months of qualifying reporting and analytics experience in April 2019—not including

his experience in the position itself from April 2019 to June 2022:

          Employer                                     42.5 Months of Qualifying
             Name                   Position                  Experience
         University of        Graduate Teaching
           Cincinnati         Assistant (part-time)     5 months (full-time equiv.)
          Berkley Net
         Underwriters             Data Analyst                   6 months
         Border States       Sales Operations Data
           Industries         & Segment Analyst                26.5 months
        Blue Cross Blue            Healthcare
             Shield           Intelligence Analyst               5 months


       48.      Border States’ response to the RFE also explained that Mr. Wang’s job duties

as Sales Operations Data & Segment Analyst were not substantially comparable to the job

duties of the Analytics Developer position because they did not perform the same job duties

more than 50% of the time. Specifically, Border States included the following evidence

describing how the positions were different:

              Border States submitted a letter from Mr. Wang’s previous supervisor,
               Shari Else, explaining that the Sales Operations Data & Segment
               Analyst was an entry-level position within the SEO department, with
               job duties focused exclusively on sales data analysis and reporting.

              Ms. Else’s letter explained further that Mr. Wang spent 75% of his
               time in the Sales Operations Data & Segment Analyst working on ad
               hoc or one-time data extraction and transformation projects to respond
               to questions from area sales leaders provided to him through his
               supervisor (including me).

              Border States also submitted a letter from Andrew Block, the
               supervisor for the Analytics Developer position, explaining that the
               duties performed in the Analytics Developer role, unlike the duties for


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               the Sales Operations role, focus on larger scale data analytics projects
               encompassing various departments such as finance, pricing, and
               operations.

             The Analytics Developer position creates a suite of data warehouses,
              visualization dashboards, and reporting architectures. Design of data
              visualization tools and dashboards comprises 40% of the job duties
              for the position while 60% of the job duties entail modeling, coding,
              and statistical analysis of big data.

             Border States further submitted information regarding the pay scales
              for each position, demonstrating that the Sales Operations Data &
              Segment Analyst and Analytics Developer roles have different levels
              of pay relative to their job duties.

             Border States also submitted contemporaneous organizational charts
              show that the two positions are located in different departments and
              at different operational levels within the company.

      49.      This evidence all demonstrated that Mr. Wang’s work as a Sales Operations

Data & Segment Analyst did not include performing the same job duties as his Analytics

Developer position more than 50% of the time and, therefore, was not substantially

comparable to the Analytics Developer. Mr. Wang’s experience as a Sales Operations Data

& Segment Analyst counts as qualifying experience under 20 C.F.R. § 656.17(i).

   F. USCIS Denies the I-140 Petition Based on its Refusal to Consider Mr. Wang’s
      work experience at Border States.

      50.      On December 29, 2023, less than one week after receiving Border States’

detailed response, USCIS issued a denial letter. USCIS’s denial letter is conclusory, and

does not engage on any of the explanation or evidence submitted by Border States. For

example, USCIS’s denial flatly refuses to consider any of Mr. Wang’s experience at Border

States as qualifying experience, but it does not acknowledge—let alone address—the

detailed explanations and evidence showing that Mr. Wang’s experience as a Sales

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Operations Data & Segment Analyst was not substantially comparable and therefore

counted as qualifying experience for the Analytics Developer position.

       51.      USCIS’s inquiry should have been whether Mr. Wang had the necessary 36

months of experience as of June 17, 2022, which was his priority date, which Mr. Wang

indisputably had based on his work at Border States. As in Ved, USCIS simply refused to

consider Mr. Wang’s experience with the employer without explanation. See Ved, 2023

WL 2372360, at *7 (D. Alaska Mar. 6, 2023). Therefore, USCIS’s denial decision was

unreasonable.

       52.      Separately, USCIS’s denial decision was an abuse of discretion because it

ignored Border States’ response to the RFE demonstrating that it is no longer feasible to

train a worker to qualify for the Analytics Developer position. This evidence supported a

finding that Mr. Wang gained the requisite level of experience in the position itself, as an

Analytics Developer. See 20 C.F.R. § 656.17(i).

       53.      That evidence included:

              Organizational charts demonstrating that, with internal restructuring
               of its departments, Mr. Wang now is the only Analytics Developer at
               Border States. Border States also included evidence showing that, at
               the time Mr. Wang started in the position, Border States had multiple
               employees in the same role. But, since then, Border States restructured
               its operations due to changes in the industry and its larger corporate
               strategy. Thus, if Mr. Wang were not employed by Border States,
               there would be no one to train a new employee as an Analytics
               Developer.

              Documentation and letters from Mr. Wang’s past and present
               supervisors describing the significant industry changes influencing
               the nature of Border States’ business and related changes to the
               Analytics Developer position. This documentation included a
               detailed description of Border States’ “Connect 25” corporate


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                strategy, which requires the Analytics Developer position to use
                more-sophisticated tools and statistical analysis to analyze vendor
                relationships, provide insights into internal pricing/profit margins,
                and create “dashboards” that incorporate critical business
                information. To meet these expectations, the Analytics Developer
                position must handle a larger volume of data and cover a larger
                geographic scope.

              Documentation showing that Border States’ revenue has more than
               doubled since 2019, and Border States plans to go from $3.6 billion
               in revenue in 2023 to $12 billion in 2030. To sustain this rate of
               revenue growth, Border States needs to rapidly implement a new Sales
               Force CRM system in collaboration with Border States’ Sales
               Enablement and Operations team and a Vendor Scorecard dashboard
               in collaboration with Border States’ vendor management team. It
               would be impossible for Border States to train an employee within the
               timeline required for implementation of these projects.


       54.      USCIS’s refusal to even consider this evidence, it ignored both the pertinent

regulation, 20 C.F.R. § 656.17(i), but also the policy goals underlying the regulation itself.

The Analytics Developer position is critical to the changing nature of the company and its

plans for revenue growth. The evidence showed that, as part of its Connect 25 strategy,

Border States needs to increase revenue very quickly—within the next year or two—and

so it is not feasible to train someone with the level of technological sophistication and

ability to work with multiple departments within Border States.

       55.      As a result of USCIS’s denial decision, Border States has no one to fill the

Analytics Developer position after September 2024 when Mr. Wang’s current H-1B

expires. As a result, USCIS has left Border States in a position where it will be severely

limited in its ability to achieve its corporate goals. USCIS put Border States in this position




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without even acknowledging—much less analyzing—the significant evidence presented

by Border States or the relevant regulations.

                                      EXHAUSTION

        56.    USCIS’s denials of Border States’ immigrant visa petition constitutes a final

agency action under the APA, 5 U.S.C. § 701, et seq. Neither the INA nor DHS regulations

at 8 C.F.R. § 103.3(a), require an administrative appeal of the denial. Accordingly, Border

States has no administrative remedies that it is required to exhaust.

        57.    Under 5 U.S.C. §§ 702 and 704, Border States has suffered a “legal wrong”

and has been “adversely affected or aggrieved” by agency action for which there is no

adequate remedy at law.

                                CAUSES OF ACTION
                                     COUNT I
                Administrative Procedure Act Violation (5 U.S.C. § 706)

        58.    Border States incorporates the allegations of the preceding paragraphs as if

fully set forth herein.

        59.    Border States is entitled to review by this Court pursuant to 5 U.S.C. §§ 701-

706.

        60.    A reviewing court shall “hold unlawful and set aside agency action . . . found

to be – arbitrary, capricious, an abuse of discretion, or otherwise not in accordance with

the law.” 5 U.S.C. § 706(2)(A).

        61.    Defendants’ denial of Border States’ Form I-140 Visa Petition on behalf of

You Wang, seeking an employment-based immigrant visa, constitutes a final agency action

that is arbitrary and capricious, an abuse of discretion, and not in accordance with the law.


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       62.    Border States included significant evidence demonstrating that Mr. Wang

had more than the necessary years of experience for the Analytics Developer position,

including employer letters, pay records, and organizational charts.

       63.    Organizational charts, corporate records reflecting business strategy and

revenue growth, employer letters, pay records, and contemporaneous supporting

documentation are all primary and credible evidence.

       64.    It was an abuse of discretion and not in accordance with the law for USCIS

to fail to consider this evidence.

       65.    It was an abuse of discretion and not in accordance with the law for USCIS

to ignore 20 C.F.R. § 656.17 or consider how the evidence submitted by Border States met

the requirements of the regulations.

       66.    It was an abuse of discretion for USCIS to reach a decision that is directly at

odds with DOL’s determination in certifying the labor certificate that Border States could

reasonably consider Mr. Wang’s experience at Border States as relevant, qualifying work

experience for Border State’ Analytics Developer position. Although USCIS is not bound

by DOL’s decision, it was an abuse of discretion for USCIS not to explain why it was

reaching a different result.

       67.    As a result of USCIS’s unlawful decisions, Border States has suffered, and

will continue to suffer, injury from the denial of an immigrant visa petition for Mr. Wang.

As described above, Border States faces a serious risk that it will not be able to meet critical

business strategy goals in the short term because of USCIS’s arbitrary denial decision.




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                              REQUEST FOR RELIEF

      WHEREFORE, Plaintiff requests this Court grant the following relief:

      1.     Declare that Defendants abused their discretion and erred by denying Border

State’s I-140 petition to employ Mr. You Wang as an Analytics Developer;

      2.     Vacate Defendants’ denial of the Form I-140 immigrant visa petition Border

States filed on behalf of Mr. Wang;

      3.     Order Defendants to promptly approve the Form I-140 Form I-140

immigrant visa petition Border States filed on behalf of Mr. Wang;

      4.     Award Border States its costs in this action; and

      5.     Grant any other relief that this Court may deem just and proper.



Dated: January 31, 2024               LOCKRIDGE GRINDAL NAUEN P.L.L.P.

                                      s/David W. Asp
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